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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

NATIONAL WILDLIFE FEDERATION,               )
                                            )
                   Plaintiff,               )
                                            )
      v.                                    )                   Civil Action No. 1:19-cv-02416 (TSC)
                                            )
LOHR, et al.,                               )
                                            )
                   Defendants.              )
____________________________________________)

                         JOINT APPENDIX OF ADMINISTRATIVE RECORD

          Pursuant to Local Civil Rule 7(n)(1), the Parties submit the attached appendix containing

those portions of the administrative record that are cited or otherwise relied upon by the Parties in

their briefs. A table of contents for the documents included in the appendix is provided below.

Plaintiffs can provide the Court with a complete copy of the administrative record in thumb-drive or

DVD form if requested.

                                      TABLE OF CONTENTS

 Attach. #             AR Citation Range                               Document
                                              VOLUME 1
      1          AR1            -       AR13        1985 Food Security Act (“FSA”) (excerpt)

      2          AR152          -       AR176       1990 Farm Bill Conf. Rep. (excerpt)

      3          AR180          -       AR200       1990 Farm Bill (excerpt)

      4          AR216          -       AR228       1991 Final Rule

      5          AR231          -       AR232       1991 National FSA Manual (“NFSAM”) 2nd
                                                    Edition, Amendment 6; Sections 512.04 -
                                                    512.05; Wetland Certification and Delineations)
      6          AR234          -       AR235       1991 Form CPA-026

      7          AR236          -       AR247       1991 Environmental Assessment (“EA”)
                                                    (excerpt)
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Attach. #       AR Citation Range                     Document
    8       AR373       -     AR383     1994 Memorandum of Agreement (“MOA”)

   9        AR384      -        AR391   1994 NFSAM 3rd Edition, Sections 514.10,
                                        514.52 and 514.53
   10       AR394      -        AR396   1995 Senate Moratorium Bill

   11       AR397      -        AR398   1995 Cong. Rec. re: Moratorium

   12       AR399      -        AR400   1995 House of Rep. Moratorium Bill

   13       AR401                       1995 Press Release re: Moratorium

   14       AR402      -        AR403   1995 NRCS Guidance re: Moratorium (excerpt)

   15       AR407                       1995 Memo to NRCS Regional Conservationists
                                        re: Moratorium (excerpt)
   16       AR422      -        AR427   1996 Farm Bill Conf. Rep. (excerpt)

   17       AR443      -        AR465   1996 Farm Bill (excerpt)

   18       AR466      -        AR469   1996 Cong. Rec. Vol. 142, No. 57 (Statement of
                                        Sen. Grassley)
   19       AR470      -        AR474   1996 EA (excerpt)

   20       AR484      -        AR503   1996 Interim Rule

   21       AR504      -        AR511   1996 NFSAM, 3rd Edition, Amendment 2: Part
                                        514.10
   22       AR512      -        AR523   1997 NRCS Evaluation of Off-Site Wetland
                                        Mapping Conventions and Wetland
                                        Determinations in the Prairie Pothole Region
   23       AR540      -        AR541   1997 NRCS ND Quality Assessment of Existing
                                        Wetland Determinations
   24       AR542      -        AR543   1997 Informational Memorandum for the
                                        Secretary
   25       AR550      -        AR551   1999 O&E Report; Implementations of the
                                        Wetland Conservation Provisions Food Security
                                        Act
   26       AR552      -        AR565   2000 National Resources Inventory Summary
                                        Report 1997 (excerpt)
   27       AR646                       2001 FWS Memorandum
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Attach. #       AR Citation Range                     Document
   28       AR647                       2001 NFSAM WI State Supplement

   29       AR649       -     AR661     2005 Correspondence re: Withdrawal from
                                        MOA
   30       AR778       -     AR783     2006 NFSAM, 3rd Edition; Sections 514.50 and
                                        514.51
   31       AR786       -     AR788     2008 NFSAM, 4th Edition, Amendment 4;
                                        Section 514.1
   32       AR854       -     AR872     2010 NFSAM, Circular No. 5, Part 527,
                                        Wetland Identification Procedures
   33       AR884       -     AR896     CRS Rep., Technical Assistance for Agriculture
                                        Conservation (excerpt)
   34       AR922       -     AR928     Wetland Determination Training Course Agenda

   35       AR929       -     AR932     NRCS Wetland Training Course Annotated
                                        1990 Farm Bill Conf. Rep.
   36       AR939                       NOAA’s Climate Normals (excerpt)

   37       AR950       -     AR956     2013 Decision Memorandum for the Secretary

   38       AR1053                      2014 Form AD-1026 (except)

   39       AR1105      -     AR1106    NCGA Comments on 2015 Interim Rule
                                        (excerpt)
   40       AR1111      -     AR1197    2012 National Resources Inventory Summary
                                        Report (excerpt)
   41       AR1333      -     AR1361    2017 Inspector General Rep.

   42       AR1362      -     AR1363    2017 NFSAM, 5th Edition, Amendment 4; Part
                                        514 (excerpt)
   43       AR1374      -     AR1376    2017 Regional Conservationists Letter to NRCS
                                        State Conservationists Re: Agency Policy of the
                                        Certification Status of Wetland Determinations
   44       AR1380                      Stakeholder Meeting Invitation

   45       AR1387      -     AR1388    NWF and IWLA Comments on Proposed
                                        Changes
   46       AR1389      -     AR1398    NWF Preliminary Comments on Proposed
                                        Changes
                                    VOLUME 2
   47       AR1401      -     AR1415    2018 EA
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Attach. #       AR Citation Range                         Document
   48       AR1416      -     AR1419    2018 Finding of No Significant Impact
                                        (“FONSI”)
   49       AR1422     -      AR1428    2018 Interim Rule

   50       AR1504     -      AR1511    Pike-Scott Farm Bureau Comments

   51       AR1707     -      AR1745    NWF Comments on Interim Rule

   52       AR1811     -      AR1812    NC Farm Bureau Comments on Interim Rule
                                        (excerpt)
   53       AR1820     -      AR1955    NWF Member Comments on Interim Rule
                                        (excerpt)
   54       AR9317     -      AR9320    American Farm Bureau Comments on Interim
                                        Rule (excerpt)
   55       AR9602     -      AR9613    NWF Notice of Intent to Sue for Violations of
                                        ESA
   56       AR9617     -      AR9620    NPS Wetlands Factsheet

   57       AR9621     -      AR9624    Scientific American Wetland Article

   58       AR9658     -      AR9666    FWS Status and Trends of Prairie Wetlands in
                                        the U.S. 1997-2009 (excerpt)
   59       AR9729     -      AR9730    FWS Prairie Potholes Factsheet (excerpt)

   60       AR9736     -      AR9907    2017 Prairie Pothole Joint Venture
                                        Implementation Plan (excerpt)
   61       AR9945     -      AR9949    NRCS Fact Sheet: Shorebirds (excerpt)

   62       AR9958     -      AR9964    State of the Birds Report (excerpt)

   63       AR10169    -      AR10174   McCauley, et al., Consolidation Drainage and Climate
                                        Change May Reduce Piping Plover Habitat in the Great
                                        Plains (excerpt)
   64       AR10189    -      AR10250   Status and Trends of Wetlands in the
                                        Coterminous U.S. 2004-2009 (excerpt)
   65       AR10301                     FWS Bog Turtle Fact Sheet (excerpt)

   66       AR10303    -      AR10320   FWS Wood Stork 5-Year Review (excerpt)

   67       AR10337                     NRCS Massasauga Rattlesnake Factsheet
                                        (excerpt)
   68       AR10339    -      AR10374   FWS Southwestern Willow Flycatcher 5-Year
                                        Review (excerpt)
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 Attach. #       AR Citation Range                          Document
    69       AR10443     -     AR10447    Endangered Status for Reticulated Flatwoods
                                          Salamander Final Rule (excerpt)
     70      AR10519    -       AR10528   CRS Rep., Conservation Compliance and U.S. Farm
                                          Policy (excerpt)
     71      AR10540                      NRCS Wetlands Compliance Fact Sheet

     72      AR10542    -       AR10544   Article re: 2018 Interim Rule (excerpt)

     73      AR10613    -       AR10629   NRCS Wetlands Compliance Fact Sheets

     74      AR10632                      1994 MN Mapping Conventions (excerpt)

     75      AR10644                      1994 ND Mapping Conventions (excerpt)

     76      AR10651    -       AR10652   1994 IA Mapping Conventions (excerpt)

     77      AR10785    -       AR10846   1996 NFSAM, 3rd Edition; 2nd Amendment,
                                          Part 514
     78      AR10999    -       AR11064   1998 NFSAM, 3rd Edition; Amend. 3, section
                                          514.51
     79      AR11078    -       AR11097   1999 SD Wetlands Quality Review (excerpt)

     80      AR11177    -       AR11181   2011 ND & SD Mapping Conventions

     81      AR11182    -       AR11183   2014 Wetland Compliance Talking Points
                                          (excerpt)
     82      AR11187                      2011 MN Offsite Mapping Conventions
                                          (excerpt)
     83      AR11736    -       AR11737   2014 Listening Session Transcript (excerpt)

     84      AR11974    -       AR11983   1991 NFSAM, 2nd Edition, Amend. 6 Sections
                                          512.00 - 512.13
     85      AR11990    -       AR12005   2020 Final Rule

     86      AR12006    -       AR12011   2020 FONSI


Dated: June 18, 2021

                                             Respectfully Submitted,

                                             /s/Elizabeth L. Lewis
                                             Elizabeth L. Lewis
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                                  D.C. Bar No. 229702
                                  Eubanks & Associates, LLC
                                  1331 H. Street NW, Suite 902
                                  Washington, DC 20005
                                  202-618-1007
                                  lizzie@eubankslegal.com

                                  /s/ William N. Lawton
                                  William N. Lawton
                                  DC Bar No. 1046604
                                  Eubanks & Associates, LLC
                                  1331 H Street NW, Suite 902
                                  Washington, DC 20005
                                  202-556-1243
                                  nick@eubankslegal.com

                                  /s/ William S. Eubanks II
                                  William S. Eubanks II
                                  DC Bar No. 987036
                                  Eubanks & Associates, LLC
                                  1331 H Street NW, Suite 902
                                  Washington, DC 20005
                                  970-703-6060
                                  bill@eubankslegal.com

                                  Counsel for Plaintiff

                                  JEAN E. WILLIAMS
                                  Acting Assistant Attorney General
                                  U.S. Department of Justice
                                  Environment and Natural Resources Division

                                  /s/Barclay T. Stamford
                                  BARCLAY T. SAMFORD
                                  Natural Resources Section
                                  999 18th Street, South Terrace, Suite 370
                                  Denver, Colorado 80202
                                  Tel.: (303) 844-1475
                                  Fax: (303) 844-1350
                                  E-mail: clay.samford@usdoj.gov

                                  Attorneys for Federal Defendants
